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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA, et al.,

             Petitioners,

       v.
                                                      Case No. 24-1193, and
                                                      consolidated cases
U.S. ENVIRONMENTAL PROTECTION
AGENCY and Lee M. Zeldin, Administrator of
the U.S. Environmental Protection Agency,

             Respondents.


            UNOPPOSED MOTION TO CONTINUE ABEYANCE

      Respondents United States Environmental Protection Agency and

Administrator Lee Zeldin (“EPA”) respectfully move the Court to extend the

abeyance by 30 days to allow new Agency leadership to conclude its review of the

underlying rule. Petitioners and Respondent-Intervenors in these consolidated

cases do not oppose the motion.

      1.    Petitioners seek review of an EPA final rule titled, “Designation of

Perfluorooctanoic Acid (PFOA) and Perfluorooctanesulfonic Acid (PFOS) as

CERCLA Hazardous Substances,” 89 Fed. Reg. 39124 (May 8, 2024) (“Rule”).

      2.    On February 24, 2025, the Court granted Respondents’ motion to hold

the case in abeyance for 60 days pending that review. Doc. No. 2102403. The


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Court’s order also directed the Respondents to file motions to govern future

proceedings on April 25, 2025. Id.

      3.     With the change in administration on January 20, 2025, there is new

EPA leadership. That new leadership is in the process of reviewing the issues

presented in this case and developing its position on how to proceed in this

litigation. To complete that process in an orderly and deliberate fashion while

preserving both this Court’s and the parties’ resources, EPA requests that the Court

abate proceedings in this matter for an additional 30 days.

      4.     This court has “broad discretion to stay proceedings as an incident to

its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997);

see also Landis v. N. Am. Co., 299 US. 248, 254 (1936); Cottrell v. Duke, 737 F.3d

1238, 1248 (8th Cir. 2013). An abeyance is prudent “if the public welfare or

convenience will thereby be promoted.” Landis, 299 U.S. at 256.

      5.     Abeyance is warranted here because courts have long recognized that

agencies may generally review and, if appropriate, revise their past decisions. See,

e.g., Motor Vehicle Mfrs. Ass’n v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29,

42 (1983) (“[R]egulatory agencies do not establish rules of conduct to last forever

[and] an agency must be given able latitude to adapt their rules and policies to . . .

changing circumstances.”); Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032,

1038, 1043 (D.C. Cir. 2012) (explaining that an agency’s “reevaluation of which



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policy would be better in light of the facts” is “well within” its discretion and that a

change in administration is a “perfectly reasonable basis for an executive agency’s

reappraisal of the costs and benefits of its programs and regulations” (internal

quotation marks omitted)).

      6.     Courts routinely grant stays or abeyance in circumstances like those

presented here where a new administration seeks to review prior actions. See, e.g.,

Order, (Doc. Nos. 1883880, 1882301),1 Am. Fuel & Petrochem. v. EPA, No. 19-

1124 (D.C. Cir. Feb. 5, 2021) (rescheduling oral argument at EPA’s request to

accommodate change of administration); Order (Doc. Nos. 1675813, 1670157),

Am. Petroleum Inst. v. EPA, No. 13-1108 (D.C. Cir. May 18, 2017) (abating

challenge to EPA’s authority to regulate methane from oil and gas operations

following change of administration); Order (Doc. Nos. 1673071, 1668274), West

Virginia v. EPA, No. 15-1363 (D.C. Cir. Apr. 28, 2017) (abating challenges to

Clean Power Plan rule following change of administration).

      7.     Continuing the abeyance would also preserve resources of the parties

and the Court. It is possible that after its review, EPA could take further action that

may obviate the need for judicial resolution of some or all of the disputed issues.

Good cause thus exists for the requested abeyance. See Anchor Line Ltd. v. Fed.


1
 In this and the following citations, the first Document No. refers to the Court’s
Order and the second Document No. refers to EPA’s motion for a stay or
abeyance.


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Maritime Comm’n, 299 F.2d 124, 125 (D.C. Cir. 1962) (“[W]hen an agency seeks

to reconsider its action, it should move the court to remand or to hold the case in

abeyance pending reconsideration by the agency.”); cf. Ctr. for Biological

Diversity v. EPA, 56 F.4th 55, 71–71 (D.C. Cir. 2022) (courts “routinely stay

[their] hand when parties identify developments that are likely to render judicial

resolution unnecessary”); Am. Petroleum Inst. v. EPA, 683 F.3d 382, 386–87 (D.C.

Cir. 2012) (finding proposed rule that would eliminate disputed issue rendered

pending case prudentially unripe).

      8.     No party would be unduly prejudiced by the requested abeyance, and

none opposes this motion. Because this matter is already in abeyance no deadlines

will be impacted by continuing the abeyance.

      9.     For these reasons, the Court should continue to hold this matter in

abeyance for an additional 30 days, with motions to govern due at the end of that

period.




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                                   Respectfully submitted,

  DATED: April 25, 2025            ADAM R.F. GUSTAFSON
                                    Acting Assistant Attorney General

                                    s/ Andrew D. Knudsen
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            CERTIFICATES OF COMPLIANCE AND SERVICE

      This document complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f), this document contains 757 words.

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proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font.

      On April 25, 2025, I filed the foregoing with the Court’s CM/ECF system,

which will notify each party.



Dated: April 25, 2025                Respectfully submitted,

                                             s/ Andrew D. Knudsen
                                             ANDREW KNUDSEN
